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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 23-cr-398 (CKK)
         v.                                    :
                                               :
ALBERT CIARPELLI,                              :
                                               :
                 Defendant                     :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Albert Ciarpelli to 6 months of incarceration, at the high end of the

guideline range, twelve months of supervised release, 60 hours of community service, $500 in

restitution, and a $25 special assessment.

    I.        Introduction

         Defendant Albert Ciarpelli, a 68-year-old former Marine and real estate property manager,

participated in the January 6, 2021 attack on the United States Capitol—a violent attack that forced

an interruption of Congress’s certification of the 2020 Electoral College vote count, threatened the

peaceful transfer of power after the 2020 Presidential election, injured more than one hundred

police officers, and resulted in more than 2.9 million dollars in losses. 1




1
  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
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         Ciarpelli pleaded guilty to a single violation of 18 U.S.C. § 1752(1)(1), Entering or

Remaining within a Restricted Building or Grounds. The government’s recommendation is amply

warranted here: Ciarpelli entered the U.S. Capitol Grounds immediately upon seeing other rioters

violently breach a police line; he remained on Capitol Grounds for hours after his first breach of

the restricted perimeter; he was among the vanguard of rioters who proceeded to the second-floor

corridor immediately outside the Senate chamber; and he entered the building not once, but twice.

Among similarly situated defendants who have pled guilty to a single count of § 1752(a)(1),

Ciarpelli falls among the most culpable of January 6 misdemeanants. Although he has finally pled

guilty, Ciarpelli has yet to express real remorse for his actions on January 6.

         The Court must consider that the defendant’s conduct on January 6, like the conduct of

scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm police, breach the Capitol, and disrupt the proceedings. But for his actions

alongside so many others, the riot likely would have failed. Here, the facts and circumstances of

Ciarpelli’s crime support a sentence of 6 months of incarceration in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See Statement of Offense, Doc. 65 at 1-3.

             Defendant Ciarpelli’s Role in the January 6, 2021 Attack on the Capitol

         Ciarpelli travelled from his home in upstate New York to Washington, D.C. on January 5,

2021 for the purpose of attending former President Trump’s “Stop the Steal” rally at the Ellipse.


million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.


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       On January 6, Ciarpelli attended the rally as planned and remained there for approximately

two to three hours. Metadata from videos taken by Ciarpelli on his phone show that he was near

the National Museum of African American History and Culture, on the National Mall, until at least

11:24 a.m. Ciarpelli then joined the amassing crowds walking from the “Stop the Steal” rally

towards the U.S. Capitol.

       Ciarpelli approached the Capitol from the west and was one of the first rioters to breach

the restricted perimeter around Capitol Grounds established by U.S. Capitol Police. Specifically,

videos from his phone show Ciarpelli near the Peace Circle at approximately 12:49 p.m. He was

then only feet away at approximately 12:54 p.m. when other rioters assaulted the outnumbered

police to breach the bike rack barricades erected at the Pennsylvania walkway between the Peace

Circle and the northwest Capitol Grounds. See Images 1-3. He then stepped directly over the

barricades that other rioters had torn down. See Image 3.




Image 1: Still from Exhibit 1, a video Ciarpelli recorded on January 6 depicting rioters pushing
                      against the police line at the Pennsylvania walkway




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   Image 2: Open source still showing Ciarpelli (circled in yellow) within feet of the about-to-
               collapse police line as the mob worked to breach the police line




 Image 3: Open source still showing Ciarpelli (circled in yellow) stepping over downed bicycle
     barricades as police officers were forced to retreat to closer to the Capitol Building

       Ciarpelli proceeded to the West Plaza of the Capitol Building, where he was again within

feet of rioters tearing barricades away from the police officers attempting to protect the Capitol.

Indeed, Ciarpelli himself can be seen on body worn camera footage grasping onto a bike rack that




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rioters were attempting to push into the police at 1:36 p.m. See Images 4 and 5. Ciarpelli was then

forced back into the crowd. See Image 6.




   Image 4: Still from Exhibit 2, Metropolitan Police Department body worn camera footage
         showing Ciarpelli (circled in yellow) grasping at a lifted bike rack barricade




     Image 5: Open source still image of Ciarpelli (circled in yellow) grasping the bike rack
                                           barricade


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   Image 6: Still from Exhibit 2, Metropolitan Police Department body worn camera footage
          showing Ciarpelli (circled in yellow) as he was forced back into the crowd

       Undeterred by the police who were obviously struggling to push back the rioters, Ciarpelli

again approached the police line with his phone in his hand, apparently filming the scene. See

Image 7. He remained in front of that police line for several minutes, and on the West Plaza more

generally for approximately 20 additional minutes.




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   Image 7: Still from Exhibit 2, Metropolitan Police Department body worn camera footage
               showing Ciarpelli (circled in yellow) remaining on the West Plaza

       Ciarpelli then proceeded up to the Upper West Terrace by climbing underneath the

scaffolding of the Inaugural Stage at approximately 1:56 p.m. Once he reached the Upper West

Terrace, Ciarpelli followed other rioters looking to make entry into the building – he banged on

the Parliamentarian Door using his fist and eventually followed rioters into the building through

the Senate Wing Door at approximately 2:13 p.m., within approximately one minute of the first

rioters entering the building. Before entering the building, Ciarpelli stood and watched as other

rioters broke through glass windows near the Senate Wing Door. During this time, the crowd

cheered on the rioters breaking down the windows and yelled things like “This is our f***ing

country,” and “This is our house.” Once inside, the crowd continued to yell and chant.

       Inside the U.S. Capitol building, Ciarpelli climbed the stairs to the second floor, where

U.S. Capitol Police officers met Ciarpelli and other rioters at the Ohio Clock Corridor. That

corridor is immediately outside the Senate chamber, where senators were still in the process of

being evacuated. The police successfully blocked the rioters’ way, but, Ciarpelli and other rioters


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around him yelled at the assembled officers. During this time, Ciarpelli continued to record

photographs and videos on his phone.




  Image 8: Press photograph of Ciarpelli (circled in yellow) in the corridor outside the Senate
                                           chamber




  Image 9: Press photograph of Ciarpelli (circled in yellow) yelling at officers in the corridor
                                outside the Senate chamber


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       Ciarpelli exited the Capitol building shortly after 2:30 p.m. He later re-entered the building

on its east side at approximately 3:13 p.m. He re-entered the building through the East Rotunda

Doors among cheers of “let us in, let us in!” and blaring alarms. Ciarpelli went into the Rotunda

on this second trip, as officers were visibly working to clear the Rotunda, and he left through the

same doors he entered at approximately 3:32 p.m., raising his fist in the air as he exited. In all, he

unlawfully remained inside the building for approximately 35 minutes. More, the metadata from

the videos he recorded on his cell phone indicate that he remained in and around the National Mall

until approximately 5:45 p.m., shortly before the commencement of Mayor Muriel Bowser’s 6

p.m. citywide curfew.

                                     Post-January 6 Interview

       On January 8, 2021, two days after the riot at the Capitol, the Central NY News posted an

article on the internet identifying Ciarpelli as one of the participants in the January 6 riot at the

Capitol. The same day, Ciarpelli’s attorney contacted the U.S. Marshal Service, and in turn the

FBI, on the understanding that there may have been an arrest warrant issued for his client.

       On January 10, 2021, Ciarpelli submitted to a voluntary interview with the FBI and his

counsel. Ciarpelli identified himself in several photographs from inside the Capitol Building on

January 6, 2021. Ciarpelli confirmed during his interview that he had travelled to Washington,

D.C. alone on January 5, 2021 to attend the former President’s rally at the Ellipse. He reported that

he had walked from his hotel to the rally, and that he followed the crowd from the rally to the

Capitol. He stated that he did something that he knew he should not have and that he had made his

way into the building via an open door with broken glass. Ciarpelli further stated that he spent his

time inside the Building taking photographs and considered his time in the Building to be a “little

adventure.”



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                                   The Charges and Plea Agreement

          On January 12, 2021, Ciarpelli was charged in a complaint with Entering or Remaining in

a Restricted Building or Grounds, 18 U.S.C. § 1752(a)(1); Disorderly Conduct in a Restricted

Building or Grounds, 18 U.S.C. § 1752(a)(2): Disorderly Conduct in a Capitol Building or

Grounds, 40 U.S.C. § 5104(e)(2)(D); Obstructing, or Impeding Passage through or within the

Grounds or any of the Capitol Buildings, 40 U.S.C. § 5104(e)(2)(E); and Parading, Demonstrating,

or Picketing in a Capitol Building, 40 U.S.C. § 5104(e)(2)(G).

          On November 14, 2023, the United States charged Ciarpelli with Entering or Remaining

in a restricted building or grounds in violation of 18 U.S.C. 1752(a)(1) in a single-count

Information. On January 4, 2024, Ciarpelli pleaded guilty to the Information, pursuant to a written

plea agreement.

   III.      Statutory Penalties

          Ciarpelli now faces a sentencing for violating 18 U.S.C. § 1752(a)(1). As noted by the plea

agreement and the U.S. Probation Office, the defendant faces up to one year of imprisonment; a

fine of up to $100,000; a term of supervised release of not more than one year; and a $25 special

assessment. In addition, under the terms of his plea agreement, the defendant must also pay $500

in restitution to the Architect of the Capitol. See 18 U.S.C. § 3663(a)(3); United States v. Anderson,

545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

   IV.       The Sentencing Guidelines and Guidelines Analysis

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.



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The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

       The government substantially agrees with the Sentencing Guidelines calculation set forth

in the PSR, most of which the parties agreed to in the plea agreement. The government opposes

the application of the 2-level Zero Point Offender Adjustment under §4C1.1, for the reasons

explained below. 2 Accordingly, the government proposes that the correct guidelines calculation is

as follows:

       Base Offense Level (U.S.S.G. §2B2.3(a))                              +4
       Specific Offense Characteristics (U.S.S.G. §2B2.3(b)(1)(A))          +2
       Acceptance of Responsibility (USSG §3E1.1(a))                        -2
       Total Adjusted Offense Level                                          4

See PSR at ¶¶ 36-45.

       Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria.

       Here, the government agrees that Ciarpelli has no criminal history points. Nevertheless, the

government disagrees that Ciarpelli’s conduct was non-violent. By grabbing on to a bike rack that

other rioters were already holding in the air and pushing into a police line, Ciarpelli personally

contributed to the mayhem on the West Plaza. And, this conduct threatened violence to any police

officer who could see the elevated racks headed towards them. Accordingly, the government



2
  The government acknowledges that it did not initially object to the inclusion of the §4C1.1
adjustment in the draft PSR. Upon further review of the video evidence in this case in preparation
for sentencing, however, the government has revised its position and submits that the §4C1.1
adjustment is not appropriate here.
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submits that the Zero Point Offender adjustment is not appropriate in this case. See United States

v. Hernandez, No. 21-cr-445 (CKK), ECF No. 65 at 5 (defining “violence” for §4C1.1 purposes

as the “use of physical force” … “accompanied by fury, vehemence, or outrage”)

       In the alternative, even if the Court applies the §4C1.1 adjustment, the Court should vary

upward by two levels to account for the reduction under §4C1.1. An upward variance is necessary

because the January 6 riot was a violent attack that threatened the lives of legislators and their

staff, interrupted of the certification of the 2020 Electoral College vote count, did irrevocable harm

to our nation’s tradition of the peaceful transfer of power, caused more than $2.9 million in losses,

and injured more than one hundred police officers. Every rioter, whether or not they personally

engaged in violence or personally threatened violence, contributed to this harm. See, e.g., United

States v. Rivera, 21-cr-60 (CKK), ECF No. 62 at 13 (“Just as heavy rains cause a flood in a field,

each individual raindrop itself contributes to that flood. Only when all of the floodwaters subside

is order restored to the field. The same idea applies in these circumstances. Many rioters

collectively disrupted congressional proceedings and each individual rioters contributed to that

disruption.   Because [the defendant’s] presence and conduct in part caused the continued

interruption to Congressional proceedings, the court concludes that [the defendant] in fact impeded

or disrupted the orderly conduct of Government business or official functions”). Thus the

defendant’s conduct caused a significant disruption to a vital governmental function, warranting

an upward variance. See United States v. Eicher, No. 22-cr-038 (BAH), Sentc’g Hrg. Tr. at 48

(varying upward by two levels to offset the Section 4C1.1 reduction).

       Moreover, the Sentencing Commission enacted §4C1.1 based on recidivism data for

offenders released in 2010. See U.S. SENT’G COMM’N, RECIDIVISM OF FEDERAL

OFFENDERS RELEASED IN 2010 (2021), available at https://www.ussc.gov/research/research-



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reports/recidivism-federal-offenders-released-2010. Given the unprecedented nature of the Capitol

attack, there is no reason to believe this historical data is predictive of recidivism for defendants

who engaged in acts of political extremism on January 6. This is particularly so given the degree

to which individuals, including defendants who have been sentenced, continue to propagate the

same visceral sentiments which motivated the attack. See, e.g., United States v. Little, No. 21-cr-

315 (RCL), ECF No. 73 at 4 (“The Court is accustomed to defendants who refuse to accept that

they did anything wrong. But in my thirty-seven years on the bench, I cannot recall a time when

such meritless justifications criminal activity have gone mainstream.”).

        The government agrees with the U.S. Probation Office’s calculation of Ciarpelli’s criminal

history as a Category I. PSR at ¶ 48. Whether applying the Probation Office’s calculation of

offense level of 2 (including the adjustment for §4C1.1) or the government’s calculation of offense

level 4 (excluding the adjustment for §4C1.1), Ciarpelli’s advisory Guidelines imprisonment range

is zero to six months of incarceration. PSR at ¶¶ 71.

        Here, while the Court must consider the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines are a powerful driver of consistency and

fairness.




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   V.      Sentencing Factors Under 18 U.S.C. § 3553(a)

        In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. In this case, as described below, the

Section 3553(a) factors weigh in favor of 6 months of incarceration.

           A. The Nature and Circumstances of the Offense

        The attack on the U.S. Capitol on January 6 posed “a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Ciarpelli’s

participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors. Notably, Ciarpelli is more culpable than many other

misdemeanor defendants in that Ciarpelli was in the thick of violence on the West Front and even

pushed on a lifted bike rack himself as rioters were breaching the assembled police lines.

        Here, Ciarpelli was at the vanguard of several breaches on the West Front of the Capitol at

critical moments on January 6, 2021. He stepped over bike rack barricades and snow fencing

moments after the first perimeters fell on the Pennsylvania walkway to the Capitol from the Peace

Circle. He climbed over more barricades when he reached the West Plaza. He joined other rioters

in lifting a bike rack barricade and pushing it into a line of officers. He entered the Building shortly

after it was breached, and he proceeded to the immediate vicinity of the Senate chamber, where

Senators were still hiding, waiting for a safe time to evacuate. He stood there, yelling at officers,

while elected representatives huddled under their desks or were evacuated from the House and




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Senate chambers. And then, even after he first exited the Building, he trespassed again and entered

the Building a second time.

       Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of incarceration in this matter.

           B. Ciarpelli’s History and Characteristics

       As set forth in the PSR, Ciarpelli has no criminal history. He has two children and has been

married to his wife for forty years. Ciarpelli’s primary income source is rental properties that he

manages in and around upstate New York.

       Ciarpelli is also a former servicemember, having served in the U.S. Marine Corps from

1973 to 1975, before his honorable discharge. While Ciarpelli’s military service is laudable, it

renders his conduct on January 6 all the more troubling. As a former military member, Ciarpelli

was well aware of the importance of security around restricted government buildings. His

voluntary decision to storm a guarded government building is disturbing in light of his former

military service and training. In this case, Ciarpelli’s conduct and former military service

demonstrates a very real need for specific deterrence in the form of incarceration.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Cronin, 22-cr-233-ABJ, Tr. 06/09/23 at 20 (“We cannot ever act as if this was simply a

political protest, simply an episode of trespassing in a federal building. What this was an attack on

our democracy itself and an attack on the singular aspect of democracy that makes America

America, and that’s the peaceful transfer of power.”)

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            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

         General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. There is possibly

no greater factor that this Court must consider.

         Specific Deterrence

         The need for the sentence to provide specific deterrence to this particular defendant also

weighs in favor of a term of incarceration. As discussed previously, Ciarpelli is one of the more

culpable misdemeanor January 6 defendants. He was present for and participated in several

significant breaches and remained on Capitol Grounds for hours during the riot. And yet, in his

interview with the FBI just days after his participation in the riot at the Capitol, he claimed that his

trespass onto Capitol Grounds was merely a “little adventure.” More, as the Court may recall,

Ciarpelli struggled to fully admit his conduct during his change of plea hearing. Under questioning



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from the Court, Ciarpelli had difficulty taking responsibility for his conduct and acknowledging

his behavior on January 6, 2021.

        Given his conduct – much of which he recorded himself—it is concerning that Ciarpelli

has yet to express real remorse for actions on January 6. His remark to FBI that his trespass into a

highly guarded, restricted government Building was a “little adventure” is especially concerning

and demonstrates the need in this case for specific deterrence. There should be no question in

Ciarpelli’s mind going forward that his conduct was unlawful so as to dissuade Ciarpelli from any

“little adventures” in the future.

            E. The Need to Avoid Unwarranted Sentencing Disparities

        As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 3 This

Court must sentence Ciarpelli based on his own conduct and relevant characteristics, but should

give substantial weight to the context of his unlawful conduct: his participation in the January 6

riot.

        Ciarpelli has pleaded guilty to Count One of the Information, charging him with Entering

or Remaining in a Restricted Building or Grounds in violation of 18 U.S.C. § 1752(a)(1). This

offense is a Class A misdemeanor. 18 U.S.C. § 3559. The sentencing factors set forth in 18 U.S.C.

§ 3553(a), including “the need to avoid unwarranted sentence disparities among defendants with




3
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.

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similar records who have been found guilty of similar conduct,” 18 U.S.C. § 3553(a)(6), do apply,

however.

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the sentences in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       In United States v. Anthony Alfred Griffith, 21-cr-244-CKK, this Court sentenced the

defendant to six months of incarceration after the defendant was convicted on four misdemeanor

charges. Griffith, like Ciarpelli here, approached the Capitol from the west side after attending the

“Stop the Steal” rally, ignored all of the obvious indicia that the Capitol Building and Grounds

were restricted, watched as other rioters violently destroyed property and attacked officers to gain

entry into the Building, entered the Building multiple times, and encroached deep inside the

Building. See 21-cr-244, Doc. 153, Govt Sent. Memo at 4-12. Unlike Griffith, Ciarpelli has

formally accepted responsibility for his conduct by pleading guilty. But Ciarpelli also witnessed

much more criminal conduct by other rioters upon his entry into Capitol Grounds, he participated

himself in lifting a bike rack towards police officers, and he showed a keen interest in following

wherever other rioters were willing to breach police lines in front of him.

       In United States v. James Robinson, 22-cr-267-DLF, the defendant was sentenced to six

months of incarceration. There, Robinson pled guilty to a single misdemeanor, Parading,

Demonstrating, or Picketing in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G). Like

Ciarpelli, Robinson ignored all of the indicia that the Capitol Building was closed, he banged on a

window to the Capitol, he clearly saw other rioters fighting with police, and he spent a considerable



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amount of time inside the Capitol. See 22-cr-267, Doc. 30, Govt. Sent. Memo at 2-15. And while

Ciarpelli engaged in pushing a lifted bike barricade outside the Capitol on the West Plaza,

Robinson grabbed at an officer’s baton inside the Rotunda as the officer attempted to clear the

Rotunda of rioters. See id. Like Robinson, Ciarpelli’s substantial criminal conduct inside and

outside the Capitol warrants a sentence of incarceration of 5-6 months.

         In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   VI.      Restitution

         The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to




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restitution under the VWPA). 4 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Ciarpelli must pay $500 in restitution, which reflects in part the

role Ciarpelli played in the riot on January 6. 5 Plea Agreement at 8-9. As the plea agreement

reflects, the riot at the United States Capitol had caused “approximately $2,923,080.05” in

damages, a figure based on loss estimates supplied by the Architect of the Capitol and other

governmental agencies as of July 2023.” Id. Ciarpelli’s restitution payment must be made to the

Clerk of the Court, who will forward the payment to the Architect of the Capitol and other victim

entities. See PSR ¶ 89.

    VII.     Conclusion

       Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to 6 months of


4
 The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
5
 Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).

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incarceration, at the high end of the guideline range, twelve months of supervised release, 60 hours

of community service, $500 in restitution, and a $25 special assessment. Such a sentence protects

the community, promotes respect for the law, and deters future crime by imposing restrictions on

Ciarpelli’s liberty as a consequence of his behavior, while recognizing his acceptance of

responsibility for his crime.

                                              Respectfully submitted,

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